                                                                            Case
                                                                     B6B (Official    12-22099
                                                                                   Form 6B) (12/07)            Doc 13-1         Filed 10/02/12 Entered 10/02/12 15:13:18                                       Desc Schedule
                                                                                                                                       B & C Page 1 of 4
                                                                     IN RE Pappas, Charles                                                                                                  Case No.
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                   AMENDED SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                               X
                                                                        2. Checking, savings or other financial        X
                                                                           accounts, certificates of deposit or
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Household goods                                                                                                             2,000.00
                                                                           include audio, video, and computer
                                                                           equipment.
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Wearing apparel                                                                                                               200.00
                                                                        7. Furs and jewelry.                           X
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or           X
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated          X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint               50% interest in Elite Real Estate, LLC - Non-operational                                      J                                  0.00
                                                                          ventures. Itemize.                               99% interest in Anna Alexis, LLC - Non-operational                                            J                                  0.00
                                                                                                                           99% interest in Northeast Waste Services, LL - Non-operational                                J                                  0.00
                                                                            Case
                                                                     B6B (Official    12-22099
                                                                                   Form                  Doc
                                                                                        6B) (12/07) - Cont.          13-1     Filed 10/02/12 Entered 10/02/12 15:13:18                       Desc Schedule
                                                                                                                                     B & C Page 2 of 4
                                                                     IN RE Pappas, Charles                                                                                        Case No.
                                                                                                                             Debtor(s)                                                                           (If known)

                                                                                                                   AMENDED SCHEDULE B - PERSONAL PROPERTY
                                                                                                                              (Continuation Sheet)




                                                                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                   OR COMMUNITY
                                                                                                                                                                                                                         CURRENT VALUE OF
                                                                                                                      N                                                                                                 DEBTOR'S INTEREST IN
                                                                                                                      O                                                                                                  PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                        DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                                                    DEDUCTING ANY
                                                                                                                      E                                                                                                  SECURED CLAIM OR
                                                                                                                                                                                                                             EXEMPTION




                                                                      15. Government and corporate bonds and          X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                        X
                                                                      17. Alimony, maintenance, support, and          X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor       X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                                                                      X
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                                                                      19. Equitable or future interest, life
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent                X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated               Legal Malpractice Lawsuit                                                                            800,000.00
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other              X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other             X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations        X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and              1990 Peterbilt Dump Truck, fair condition - 350,000 miles                                               1,500.00
                                                                          other vehicles and accessories.                 Owned by Crystal Creek farms, LLC
                                                                                                                          -leak in radiator: $3,000 to fix
                                                                                                                          -leak in hydraulic piston: $2,500 to fix
                                                                                                                          -needs 4 new tires: $2,000
                                                                                                                          1997 Ford F350, good condition - 150,000 miles                                                          1,215.00
                                                                                                                          Owned by Crystal Creek Farms, LLC
                                                                                                                          1998 Isuzu Hombre, good condition - 91,000 miles                                                        1,392.00
                                                                                                                          Owned by Crystal Creek Farms, LLC
                                                                      26. Boats, motors, and accessories.             X
                                                                      27. Aircraft and accessories.                   X
                                                                      28. Office equipment, furnishings, and          X
                                                                          supplies.
                                                                            Case
                                                                     B6B (Official    12-22099
                                                                                   Form                  Doc
                                                                                        6B) (12/07) - Cont.      13-1   Filed 10/02/12 Entered 10/02/12 15:13:18                          Desc Schedule
                                                                                                                               B & C Page 3 of 4
                                                                     IN RE Pappas, Charles                                                                                 Case No.
                                                                                                                        Debtor(s)                                                                                (If known)

                                                                                                                AMENDED SCHEDULE B - PERSONAL PROPERTY
                                                                                                                           (Continuation Sheet)




                                                                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                   OR COMMUNITY
                                                                                                                                                                                                                         CURRENT VALUE OF
                                                                                                                  N                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                  O                                                                                                      PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                  DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                  N                                                                                                        DEDUCTING ANY
                                                                                                                  E                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                             EXEMPTION




                                                                      29. Machinery, fixtures, equipment, and     X
                                                                          supplies used in business.
                                                                      30. Inventory.                              X
                                                                      31. Animals.                                X
                                                                      32. Crops - growing or harvested. Give      X
                                                                          particulars.
                                                                      33. Farming equipment and implements.       X
                                                                      34. Farm supplies, chemicals, and feed.     X
                                                                      35. Other personal property of any kind     X
                                                                          not already listed. Itemize.
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                                                                                                                                                                                          TOTAL                                806,307.00
                                                                                                                                                                     (Include amounts from any continuation sheets attached.
                                                                             0 continuation sheets attached                                                                     Report total also on Summary of Schedules.)
                                                                            Case
                                                                     B6C (Official    12-22099
                                                                                   Form 6C) (04/10)         Doc 13-1            Filed 10/02/12 Entered 10/02/12 15:13:18                                Desc Schedule
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                                                                     IN RE Pappas, Charles                                                                                            Case No.
                                                                                                                               Debtor(s)                                                                         (If known)

                                                                                                       AMENDED SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $146,450. *
                                                                     (Check one box)

                                                                        ü11 U.S.C. § 522(b)(2)
                                                                         11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                     CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED          OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                      EXEMPTIONS

                                                                     SCHEDULE A - REAL PROPERTY
                                                                     99% interest in residence located at 241                     11 USC § 522(d)(5)                                                  1,150.00             259,800.00
                                                                     Church Street, Brooklyn, CT 06234                            11 USC § 522(d)(5)                                                  6,718.00
                                                                     Owned by Crystal Creek Farms, LLC
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     1990 Peterbilt Dump Truck, fair condition - 11 USC § 522(d)(5)                                                                   1,500.00                1,500.00
                                                                     350,000 miles
                                                                     Owned by Crystal Creek farms, LLC
                                                                     -leak in radiator: $3,000 to fix
                                                                     -leak in hydraulic piston: $2,500 to fix
                                                                     -needs 4 new tires: $2,000
                                                                     1997 Ford F350, good condition - 150,000                     11 USC § 522(d)(5)                                                  1,215.00                1,215.00
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                                                                     miles
                                                                     Owned by Crystal Creek Farms, LLC
                                                                     1998 Isuzu Hombre, good condition -                          11 USC § 522(d)(5)                                                  1,392.00                1,392.00
                                                                     91,000 miles
                                                                     Owned by Crystal Creek Farms, LLC




                                                                     * Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
